           Case 1:16-cv-06255-CM Document 28-19 Filed 01/16/20 Page 1 of 22



                                     Proskauer Rose LLP One Newark Center Newark, NJ 07102-5211


A New York Limited Liability Partnership
Lawrence R. Sandak, Managing Resident Partner


                                                                                                                      Lawrence R. Sandak
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October 3, 2019

By AAA WebFile & E-mail

Sharon Stiller, Arbitrator
Abrams Fensterman
160 Linden Oaks, Suite E
Rochester, NY 14625

Re:       Matthew Swain v. Hermès of Paris, Inc. and Lorenzo Bautista
          AAA No. 01-19-0001-3018

Dear Arbitrator Stiller:

        We represent Respondents Hermès of Paris, Inc. and Lorenzo Bautista, and write with
respect to your Order of October 1, 2019. Toward the end of the Order you raise several
questions that you describe as “troubling” and you identify as the basis upon which you deny
Respondents’ motion to dismiss. To avoid unnecessary litigation on time-barred claims, we
provide answers to the questions posed, all of which are confirmed by docket sheets1 which may
be considered on a motion to dismiss, even in a court proceeding.

        In the Order you ask “why the defense was not raised earlier if it could have been.” The
simple answer is that the defense could not have been raised earlier. As noted in the Order, this
case has brought the parties before trial and appellate courts in two different jurisdictions, New
Jersey state court and New York federal court. In both jurisdictions, a defense, including a
timeliness defense, can only be asserted in a responsive pleading (or a motion to the same
effect).2 In no court did Respondents ever file – nor did they have the opportunity to file – a
responsive pleading. The only responsive pleading ever filed by Respondents was in this
arbitration. Prior to Claimant filing his demand for arbitration on April 26, 2019, the sole issue
before each court was whether Claimant had filed in the wrong forum and whether the dispute
should be heard in arbitration. Since no court reached the merits of Claimants’ claim,

1
  Attached for your reference are complete copies of the docket sheets from each court in which the parties have
appeared prior to this arbitration.
2
 See Fed. R. Civ. P. 12(b)(6) (“Every defense to a claim for relief in any pleading must be asserted in the responsive
pleading if one is required”); NJ Court Rule 4:5-4 (“A responsive pleading shall set forth specifically and
separately… an… affirmative defense including… statute of limitations….) (emphasis added).




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Respondents never had an opportunity to raise a timeliness argument, nor would it have been
appropriate to do so since the only proper forum to hear the merits of Claimant’s claims is AAA
arbitration.

        After Claimant filed a complaint in New Jersey state court, Respondents petitioned the
U.S. District Court to compel arbitration. At that time, the only issue before the District Court
was whether a valid arbitration agreement existed. The District Court found a valid agreement
and compelled the parties to arbitration.3 Respondents then filed a motion to dismiss the New
Jersey state court complaint based upon the federal court’s order. Again, there was no
responsive pleading in that court. The New Jersey state court granted Respondents’ motion and
dismissed Claimant’s complaint. Sixteen months later, after two courts had compelled Claimant
to arbitration, he moved to reinstate his New Jersey state court complaint. Respondents opposed
Claimant’s application and that motion was denied, meaning that the action was not restored to
the calendar and, as a result, no responsive pleading was filed by Respondents. That ruling was
appealed and affirmed by the New Jersey Appellate Division, whose review was limited to the
record below.4

        Apart from the fact that Respondents never filed a responsive pleading, if Respondents
had somehow been able to raise a limitations defense (by motion or Answer) in court, they
would have proceeded in the wrong forum, acted in a manner contrary to their motions to compel
arbitration, and jeopardized their position that all questions of arbitrability, liability and damages
are for the Arbitrator. Cusimano v. Schnurr, 26 N.Y.3d 391 (2015) (“…a litigant may not
compel arbitration when its use of the courts is ‘clearly inconsistent with [its] later claim that the
parties were obligated to settle their differences by arbitration’”). Furthermore, proceeding in
that manner would have been contrary to law, which places the timeliness issue squarely and
solely before the Arbitrator and not the courts – regardless of which law applies. See, e.g.
Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79 (2002) (under FAA: “…we find that the
applicability of the… time limit rule is a matter presumptively for the arbitrator, not for the
judge.”); Russell v. HCL America, Inc., 2019 WL 2896462 (NJ App. Div. 2019) (under New
Jersey law: affirming arbitrator’s dismissal of claims for violating statute of limitations
following litigation over whether claims should be heard in court or in arbitration); Cohen v.
Cohen, 17 A.D.2d 279, 284 (1st Dep’t 1962) (under New York law: “Generally speaking, in the
absence of some express restriction or reservation in connection with a written submission, the
parties thereto are presumed to have agreed ‘that everything, both as to law and fact, which is
necessary to the ultimate decision, is included in the authority of the arbitrator” including “the
issue of whether or not the statute of limitations is a bar to a claim involved”).



3
  On August 14, 2017, the Second Circuit affirmed the District Court’s ruling and compelled the dispute to
arbitration. Since an appellate court’s review is limited to the issues raised in the lower court, there was no
opportunity (nor would it have been appropriate) for Respondents to raise the timeliness defense on appeal.
4
 Indeed, Claimant’s NJLAD claim became untimely only before the final two proceedings, the motion to reinstate
and the appeal of that decision. Since the motion to reinstate was denied, there never was a proceeding in which
Respondents could have asserted a limitations defense.




                                                           2
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       For these reasons, the instant arbitration was the appropriate, first, and only forum in
which a timeliness defense could have been – and was – raised. Accordingly, the defense was
not waived. We ask that in the interests of efficiency and fairness, both of which are the
hallmarks of arbitration, you reconsider your decision and grant Respondents’ motion to dismiss.

Respectfully,

/s/ Lawrence R. Sandak

Lawrence R. Sandak

cc:    Christopher W. Hager, Esq.




                                               3
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                                    U.S. District Court
                       Southern District of New York (Foley Square)
                     CIVIL DOCKET FOR CASE #: 1:16-cv-06255-CM


Hermes of Paris, Inc. v. Swain                               Date Filed: 08/05/2016
Assigned to: Judge Colleen McMahon                           Date Terminated: 09/13/2016
Cause: 28:1332 Diversity Action                              Jury Demand: None
                                                             Nature of Suit: 896 Other Statutes:
                                                             Arbitration
                                                             Jurisdiction: Diversity
Petitioner
Hermes of Paris, Inc.                         represented by Lawrence Roy Sandak
                                                             Proskauer Rose LLP (Newark)
                                                             One Newark Center
                                                             18th floor
                                                             Newark, NJ 07102
                                                             973.274.3256
                                                             Fax: 973.274.3299
                                                             Email: lsandak@proskauer.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                              Edna Doris Guerrasio
                                                              Proskauer Rose LLP
                                                              One Newark Center
                                                              Newark, NJ 07102
                                                              (973)-274-3200
                                                              Fax: (973)-274-3299
                                                              Email: eguerrasio@proskauer.com
                                                              ATTORNEY TO BE NOTICED


V.
Respondent
Matthew Swain


 Date Filed      #    Docket Text
 08/05/2016       1 PETITION TO COMPEL ARBITRATION. (Filing Fee $ 400.00, Receipt
                    Number 0208-12622113).Document filed by Hermes of Paris, Inc..(Sandak,




https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?152397938480612-L_1_0-1                     10/3/2019
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                     Lawrence) (Entered: 08/05/2016)
 08/05/2016       2 CIVIL COVER SHEET filed. (Sandak, Lawrence) (Entered: 08/05/2016)
 08/05/2016       3 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Other
                    Affiliate Hermes International SCA for Hermes of Paris, Inc.. Document filed
                    by Hermes of Paris, Inc..(Sandak, Lawrence) (Entered: 08/05/2016)
 08/05/2016       4 MOTION To Compel Arbitration and Enjoin State Court Action Pursuant 9
                    U.S.C.4 . Document filed by Hermes of Paris, Inc..(Sandak, Lawrence)
                    (Entered: 08/05/2016)
 08/05/2016       5 MEMORANDUM OF LAW in Support re: 4 MOTION To Compel Arbitration
                    and Enjoin State Court Action Pursuant 9 U.S.C.4 . Memorandum Of Law In
                    Support Of Plaintiff's Petition To Compel Arbitration And To Enjoin Pending
                    State Court Action. Document filed by Hermes of Paris, Inc.. (Sandak,
                    Lawrence) (Entered: 08/05/2016)
 08/05/2016       6 DECLARATION of Lawrence R. Sandak in Support re: 4 MOTION To
                    Compel Arbitration and Enjoin State Court Action Pursuant 9 U.S.C.4 ..
                    Document filed by Hermes of Paris, Inc.. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Sandak, Lawrence)
                    (Entered: 08/05/2016)
 08/08/2016          CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled
                     action is assigned to Judge Colleen McMahon. Please download and review the
                     Individual Practices of the assigned District Judge, located at
                     http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing
                     courtesy copies to judges where their Individual Practices require such. Please
                     download and review the ECF Rules and Instructions, located at
                     http://nysd.uscourts.gov/ecf_filing.php. (pc) (Entered: 08/08/2016)
 08/08/2016          Magistrate Judge Gabriel W. Gorenstein is so designated. (pc) (Entered:
                     08/08/2016)
 08/08/2016          Case Designated ECF. (pc) (Entered: 08/08/2016)
 08/09/2016       7 ORDER SCHEDULING AN INITIAL PRETRIAL CONFERENCE: Initial
                    Conference set for 10/7/2016 at 10:00 AM in Courtroom 24A, 500 Pearl Street,
                    New York, NY 10007 before Judge Colleen McMahon. (Signed by Judge
                    Colleen McMahon on 8/9/2016) (kgo) (Entered: 08/09/2016)
 08/09/2016       8 NOTICE OF APPEARANCE by Edna Doris Guerrasio on behalf of Hermes of
                    Paris, Inc.. (Guerrasio, Edna) (Entered: 08/09/2016)
 08/09/2016       9 CERTIFICATE OF SERVICE of Notice of Petition to Compel Arbitration,
                    Petition to Compel Arbitration, Memorandum of Law in Support of Petition to
                    Compel Arbitration, Declaration of Lawrence R. Sandak in Support of Petition
                    to Compel Arbitration with accompanying exhibits served on Matthew Swain
                    on August 9, 2016. Service was accepted by Christopher W. Hager, Attorney
                    for Matthew Swain. Document filed by Hermes of Paris, Inc.. (Sandak,
                    Lawrence) (Entered: 08/09/2016)




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 08/16/2016     10 LETTER addressed to Judge Colleen McMahon from LAWRENCE R.
                   SANDAK dated August 16, 2016 re: Petitioner's request for a hearing in
                   connection with the Petition to compel arbitration filed with the Court on
                   August 5, 2016 and in accordance with the expedited procedure set forth in
                   Section 4 of the Federal Arbitration Act. Document filed by Hermes of Paris,
                   Inc..(Sandak, Lawrence) (Entered: 08/16/2016)
 08/23/2016     11 LETTER addressed to Judge Colleen McMahon from Christopher W. Hager,
                   Esq. dated 8/23/2016 re: Petition. Document filed by Matthew Swain.
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Heck, Peter)
                   (Entered: 08/23/2016)
 08/23/2016     12 MEMO ENDORSEMENT on re: 10 Letter, filed by Hermes of Paris, Inc. re:
                   Petitioner's request for a hearing in connection with the Petition to compel
                   arbitration filed with the Court on August 5, 2016 and in accordance with the
                   expedited procedure set forth in Section 4 of the Federal Arbitration Act.
                   ENDORSEMENT: In person conference on 9/7 or 8. Too bad! Why did your
                   server pay any attention? (Signed by Judge Colleen McMahon on 8/23/2016)
                   (kko) (Entered: 08/24/2016)
 08/24/2016     13 CALENDAR NOTICE: Please take notice that the above captioned matter has
                   been scheduled for a Status Conference on Thursday, September 8, 2016 at
                   3:00 P.M. before the Honorable Colleen McMahon, United States District
                   Judge in Courtroom 24A, U.S. District Court, 500 Pearl Street, New York, New
                   York 10007. Any scheduling difficulties must be brought to the attention of the
                   Court in writing and faxed to Chambers at (212) 805-6326. Status Conference
                   set for 9/8/2016 at 03:00 PM in Courtroom 24A, 500 Pearl Street, New York,
                   NY 10007 before Judge Colleen McMahon. (Signed by Judge Colleen
                   McMahon on 8/24/2016) (kgo) (Entered: 08/24/2016)
 08/30/2016     14 FILING ERROR - DEFICIENT DOCKET ENTRY (SEE 15 Affidavit) -
                   AFFIDAVIT OF SERVICE of Civil Cover Sheet, Rule 7.1 Disclosure
                   Statement, Petition to Compel Arbitration and Enjoin Pending State Court
                   Action Pursuant to Section 4 of the Federal Arbitration Act and the Anti-
                   Injunction Act, Notice of Petition to Compel Arbitration and Enjoin State Court
                   Action, Memorandum of Law in Support of Petition to Compel Arbitration and
                   to Enjoin Pending State Court Action, Declaration of Lawrence R. Sandak in
                   Support of Petition to Compel Arbitration and Enjoin Pending State Court
                   Action (with Exhibits A thru E), the Individual Practice Rules of Judge Colleen
                   McMahon, the Individual Practice Rules of Magistrate Judge Gabriel W.
                   Gorenstein, and the Electronic Case Filing Rules & Instructions served on
                   MATTHEW SWAIN on August 15, 2016. Service was made by U.S. Certified
                   Mail/Return Receipt Requested. Document filed by Hermes of Paris, Inc..
                   (Guerrasio, Edna) Modified on 8/31/2016 (db). (Entered: 08/30/2016)
 08/30/2016     15 AFFIDAVIT OF SERVICE of Civil Cover Sheet, Rule 7.1 Disclosure
                   Statement, Petition to Compel Arbitration and Enjoin Pending State Court
                   Action Pursuant to Section 4 of the Federal Arbitration Act and the Anti-
                   Injunction Act, Notice of Petition to Compel Arbitration and Enjoin State Court
                   Action, Memorandum of Law in Support of Petition to Compel Arbitration and




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                     to Enjoin Pending State Court Action, Declaration of Lawrence R. Sandak in
                     Support of Petition to Compel Arbitration and Enjoin Pending State Court
                     Action (with Exhibits A thru E), the Individual Practice Rules of Judge Colleen
                     McMahon, the Individual Practice Rules of Magistrate Judge Gabriel W.
                     Gorenstein, and the Electronic Case Filing Rules & Instructions served on
                     MATTHEW SWAIN on August 15, 2016. Service was made by U.S. Mail,
                     U.S. Certified Mail/Return Receipt Requested. Document filed by Hermes of
                     Paris, Inc.. (Guerrasio, Edna) (Entered: 08/30/2016)
 08/30/2016     16 AFFIDAVIT OF SERVICE of Civil Cover Sheet, Rule 7.1 Disclosure
                   Statement, Petition to Compel Arbitration and Enjoin Pending State Court
                   Action Pursuant to Section 4 of the Federal Arbitration Act and the Anti-
                   Injunction Act, Notice of Petition to Compel Arbitration and Enjoin State Court
                   Action, Memorandum of Law in Support of Petition to Compel Arbitration and
                   to Enjoin Pending State Court Action, Declaration of Lawrence R. Sandak in
                   Support of Petition to Compel Arbitration and Enjoin Pending State Court
                   Action (with Exhibits A thru E), the Individual Practice Rules of Judge Colleen
                   McMahon, the Individual Practice Rules of Magistrate Judge Gabriel W.
                   Gorenstein, and the Electronic Case Filing Rules & Instructions served on
                   Chistopher W. Hager, Esq. on behalf of Respondent Matthew Swain on August
                   16, 2016. Service was made by Federal Express Overnight Delivery. Document
                   filed by Hermes of Paris, Inc.. (Guerrasio, Edna) (Entered: 08/30/2016)
 08/30/2016     17 REPLY MEMORANDUM OF LAW in Support re: 4 MOTION To Compel
                   Arbitration and Enjoin State Court Action Pursuant 9 U.S.C.4 . . Document
                   filed by Hermes of Paris, Inc.. (Sandak, Lawrence) (Entered: 08/30/2016)
 08/30/2016     18 DECLARATION of Lawrence R. Sandak in Support re: 4 MOTION To
                   Compel Arbitration and Enjoin State Court Action Pursuant 9 U.S.C.4 ..
                   Document filed by Hermes of Paris, Inc.. (Attachments: # 1 Exhibit Exhibits 1
                   through 6 of Reply Declaration of Lawrence R. Sandak in Further Support of
                   Petition to Compel Arbitration and Enjoin Pending State Court Action)(Sandak,
                   Lawrence) (Entered: 08/30/2016)
 08/30/2016     19 CERTIFICATE OF SERVICE of Petitioners Reply Memorandum of Law in
                   Further Support of Petition to Compel Arbitration and to Enjoin Pending State
                   Court Action and Reply Declaration of Lawrence R. Sandak in Further Support
                   of Petition to Compel Arbitration and Enjoin Pending State Court Action (with
                   Exhibits 1 thru 6) served on Christopher W. Hager, Esq. on August 30, 2016.
                   Document filed by Hermes of Paris, Inc.. (Sandak, Lawrence) (Entered:
                   08/30/2016)
 09/08/2016          Minute Entry for proceedings held before Judge Colleen McMahon: Pretrial
                     Conference held on 9/8/2016. Decision: Conference held. Court to issue order
                     compelling arbitration. (Submitted by Jeremy Michael P. Goldstein). (mde)
                     (Entered: 09/08/2016)
 09/13/2016     20 MEMORANDUM DECISION AND ORDER GRANTING PETITION TO
                   COMPEL ARBITRATION granting in part and denying in part 4 Motion for
                   To Compel Arbitration and Enjoin State Court Action Pursuant 9 U.S.C.4. For




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                     the reasons set forth above, the Court grants Petitioner's petition to compel
                     arbitration, but denies Petitioner's petition to enjoin Respondent's state court
                     claims. The Clerk is directed to remove the motion at Docket Number 4 from
                     the Court's list of open motions. (Signed by Judge Colleen McMahon on
                     9/13/2016) (kgo) (Entered: 09/13/2016)
 09/13/2016          Transmission to Judgments and Orders Clerk. Transmitted re: 20 Order on
                     Motion for Miscellaneous Relief,,, to the Judgments and Orders Clerk. (kgo)
                     (Entered: 09/13/2016)
 09/13/2016     21 CLERK'S JUDGMENT: It is, ORDERED, ADJUDGED AND DECREED:
                   That for the reasons stated in the Court's Memorandum Decision and Order
                   dated September 13, 2016, the Petitioner's petition to compel arbitration is
                   granted, but the Court denied Petitioner's petition to enjoin Respondent's state
                   court claims. (Signed by Clerk of Court Ruby Krajick on 9/13/2016)
                   (Attachments: # 1 Right to Appeal, # 2 Right to Appeal)(km) (Entered:
                   09/13/2016)
 09/14/2016     22 NOTICE OF APPEAL from 20 Order on Motion for Miscellaneous Relief,,.
                   Document filed by Matthew Swain. Filing fee $ 505.00, receipt number 0208-
                   12758563. Form C and Form D are due within 14 days to the Court of Appeals,
                   Second Circuit. (Heck, Peter) (Entered: 09/14/2016)
 09/14/2016          Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US
                     Court of Appeals re: 22 Notice of Appeal,. (nd) (Entered: 09/14/2016)
 09/14/2016          Appeal Record Sent to USCA (Electronic File). Certified Indexed record on
                     Appeal Electronic Files for 22 Notice of Appeal, filed by Matthew Swain were
                     transmitted to the U.S. Court of Appeals. (nd) (Entered: 09/14/2016)
 09/06/2017     23 MANDATE of USCA (Certified Copy) as to 22 Notice of Appeal, filed by
                   Matthew Swain USCA Case Number 16-3182. The appeal in the above
                   captioned case from a judgment of the United States District Court for the
                   Southern District of New York was argued on the district court's record and the
                   parties' briefs. Upon consideration thereof, IT IS HEREBY ORDERED,
                   ADJUDGED and DECREED that the judgment of the district court is
                   AFFIRMED. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit.
                   Issued As Mandate: 9/6/2017. (tp) (Entered: 09/06/2017)
 09/06/2017          Transmission of USCA Mandate/Order to the District Judge re: 23 USCA
                     Mandate. (tp) (Entered: 09/06/2017)
 10/11/2017     24 Costs Taxed as to 23 USCA Mandate,, USCA Case Number 16-3182. in the
                   amount of $221.00. on 10/11/2017 in favor of Hermes of Paris, Inc., Petitioner-
                   Appellee against Matthew Swain, Respondent-Appellant.. (nd) (Entered:
                   10/12/2017)



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                                          10/03/2019 15:46:19
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                    Description:   Docket Report Search Criteria: 1:16-cv-06255-CM
                    Billable Pages: 4            Cost:           0.40




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                                                    General Docket
                                              Court of Appeals, 2nd Circuit

 Court of Appeals Docket #: 16-3182                                                          Docketed: 09/15/2016
 Nature of Suit: 3896 Other Statutes                                                          Termed: 08/14/2017
 Hermes of Paris, Inc. v. Swain
 Appeal From: SDNY (NEW YORK CITY)
 Fee Status: Paid

 Case Type Information:
   1) Civil
   2) Private
   3) -

 Originating Court Information:
    District: 0208-1 : 16-cv-6255
    Trial Judge: Colleen McMahon, U.S. District Judge
    Date Filed: 08/05/2016
    Date Order/Judgment:                                               Date NOA Filed:
    09/13/2016                                                         09/14/2016

 Prior Cases:
    None

 Current Cases:
   None

 Panel Assignment:            Not available


 Hermes of Paris, Inc.                                       Edna Doris Guerrasio, Esq., -
            Petitioner - Appellee                            Direct: 973-274-3219
                                                             [NTC Retained]
                                                             Proskauer Rose LLP
                                                             18th Floor
                                                             1 Newark Center
                                                             Newark, NJ 07102

                                                             Lawrence R. Sandak, Esq., -
                                                             Direct: 973-274-3256
                                                             [COR NTC Retained]
                                                             Proskauer Rose LLP
                                                             1 Newark Center
                                                             Newark, NJ 07102
 --------------------------

 Matthew Swain                                               Christopher W. Hager, Esq., -
            Respondent - Appellant                           [LD NTC Retained]
                                                             Niedweske Barber Hager, LLC
                                                             98 Washington Street
                                                             Morristown, NJ 07960

                                                             Peter J. Heck, Esq., -
                                                             Direct: 973-401-0064
                                                             [COR NTC Retained]
                                                             Niedweske Barber Hager, LLC
                                                             98 Washington Street
                                                             Morristown, NJ 07960




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16-3182 Docket                                                            Page 2 of 6
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 Hermes of Paris, Inc.,

              Petitioner - Appellee,

 v.

 Matthew Swain,

              Respondent - Appellant.



 09/14/2016        1              NOTICE OF CIVIL APPEAL, with district court docket, on behalf of Appellant
              7 pg, 72.51 KB      Matthew Swain, FILED. [1863472] [16-3182] [Entered: 09/15/2016 09:43 AM]

 09/14/2016        2              DISTRICT COURT ORDER, dated 09/13/2016, RECEIVED.[1863476] [16-3182]
              7 pg, 260.38 KB     [Entered: 09/15/2016 09:46 AM]

 09/15/2016        3              PAYMENT OF DOCKETING FEE, on behalf of Appellant Matthew Swain, district
                                  court receipt # 0208-12758563, FILED.[1863480] [16-3182] [Entered: 09/15/2016
                                  09:46 AM]
 09/15/2016        5              ELECTRONIC INDEX, in lieu of record, FILED.[1863844] [16-3182] [Entered:
              6 pg, 65.82 KB      09/15/2016 01:23 PM]

 09/26/2016        7              FORM C, on behalf of Appellant Matthew Swain, FILED. Service date 09/26/2016
                                  by CM/ECF.[1871145] [16-3182] [Entered: 09/26/2016 05:02 PM]
 09/26/2016        8              FORM D, on behalf of Appellant Matthew Swain, FILED. Service date 09/26/2016
                                  by CM/ECF.[1871148] [16-3182] [Entered: 09/26/2016 05:04 PM]
 09/27/2016        9              DEFECTIVE DOCUMENT, Forms C and D, [8], [7], on behalf of Appellant Matthew
              2 pg, 17.46 KB      Swain, FILED.[1871297] [16-3182] [Entered: 09/27/2016 09:03 AM]

 09/27/2016        10             FORM C, on behalf of Appellant Matthew Swain, FILED. Service date 09/27/2016
              26 pg, 1013.05 KB   by CM/ECF.[1871596] [16-3182] [Entered: 09/27/2016 11:10 AM]

 09/27/2016        11             FORM D, on behalf of Appellant Matthew Swain, FILED. Service date 09/27/2016
              1 pg, 60.03 KB      by CM/ECF.[1871605] [16-3182] [Entered: 09/27/2016 11:13 AM]

 09/27/2016        12             CURED DEFECTIVE, Forms C and D, [11], [10], on behalf of Appellant Matthew
                                  Swain, FILED.[1871735] [16-3182] [Entered: 09/27/2016 11:49 AM]
 09/27/2016        16             NEW CASE MANAGER, Khadijah Young, ASSIGNED.[1871907] [16-3182]
              1 pg, 9.1 KB        [Entered: 09/27/2016 01:43 PM]

 10/03/2016        19             ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellant
              2 pg, 92.38 KB      Matthew Swain, FILED. Service date 10/03/2016 by CM/ECF.[1876286] [16-3182]
                                  [Entered: 10/03/2016 04:31 PM]
 10/04/2016        20             ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellee
                                  Hermes of Paris, Inc., FILED. Service date 10/04/2016 by CM/ECF.[1876885] [16-
                                  3182] [Entered: 10/04/2016 01:28 PM]
 10/04/2016        21             DEFECTIVE DOCUMENT, acknowledgment and notice of appearance, [20], on
              2 pg, 17.24 KB      behalf of Appellee Hermes of Paris, Inc., FILED.[1877053] [16-3182] [Entered:
                                  10/04/2016 03:21 PM]
 10/04/2016        22             ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellee
              1 pg, 53.87 KB      Hermes of Paris, Inc., FILED. Service date 10/04/2016 by CM/ECF.[1877117] [16-
                                  3182] [Entered: 10/04/2016 03:52 PM]
 10/04/2016        23             CURED DEFECTIVE acknowledgment and notice of appearance [22], on behalf of
                                  Appellee Hermes of Paris, Inc., FILED.[1877156] [16-3182] [Entered: 10/04/2016




https://ecf.ca2.uscourts.gov/n/beam/servlet/TransportRoom                                                 10/3/2019
16-3182 Docket                                                            Page 3 of 6
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                                 04:14 PM]
 10/10/2016        25            LR 31.2 SCHEDULING NOTIFICATION, on behalf of Appellant Matthew Swain,
              1 pg, 48.18 KB     informing Court of proposed due date 11/09/2016, RECEIVED. Service date
                                 10/10/2016 by CM/ECF.[1880339] [16-3182] [Entered: 10/10/2016 02:45 PM]
 10/11/2016        28            SO-ORDERED SCHEDULING NOTIFICATION, setting Appellant Matthew Swain
              1 pg, 36.84 KB     Brief due date as 11/09/2016. Joint Appendix due date as 11/09/2016, FILED.
                                 [1880750] [16-3182] [Entered: 10/11/2016 11:21 AM]
 11/07/2016        30            NOTICE OF APPEARANCE AS ADDITIONAL COUNSEL, on behalf of Appellee
              1 pg, 40.54 KB     Hermes of Paris, Inc., FILED. Service date 11/07/2016 by CM/ECF. [1901432] [16-
                                 3182] [Entered: 11/07/2016 11:18 AM]
 11/07/2016        31            ATTORNEY, Edna Doris Guerrasio for Hermes of Paris, Inc., in case 16-3182 , [30],
                                 ADDED.[1901607] [16-3182] [Entered: 11/07/2016 01:01 PM]
 11/09/2016        32            BRIEF, on behalf of Appellant Matthew Swain, FILED. Service date 11/09/2016 by
              30 pg, 143.25 KB   CM/ECF.[1903607] [16-3182] [Entered: 11/09/2016 12:29 PM]

 11/09/2016        33            APPENDIX, volume 1 of 1, (pp. 1-120), on behalf of Appellant Matthew Swain,
              124 pg, 31.64 MB   FILED. Service date 11/09/2016 by CM/ECF.[1903613] [16-3182] [Entered:
                                 11/09/2016 12:32 PM]
 11/16/2016        39            NOTICE OF APPEARANCE AS ADDITIONAL COUNSEL, on behalf of Appellant
              1 pg, 42.43 KB     Matthew Swain, FILED. Service date 11/16/2016 by CM/ECF. [1908662] [16-3182]
                                 [Entered: 11/16/2016 04:38 PM]
 11/16/2016        40            ATTORNEY, Christopher W. Hager for Matthew Swain, in case 16-3182 , [39],
                                 ADDED.[1908671] [16-3182] [Entered: 11/16/2016 04:42 PM]
 11/22/2016        41            MOTION, to file supplemental appendix, on behalf of Appellant Matthew Swain,
              126 pg, 4.41 MB    FILED. Service date 11/22/2016 by CM/ECF. [1912874] [16-3182] [Entered:
                                 11/22/2016 04:24 PM]
 11/22/2016        42            LR 31.2 SCHEDULING NOTIFICATION, on behalf of Appellee Hermes of Paris,
              1 pg, 571.39 KB    Inc., informing Court of proposed due date 01/11/2017, RECEIVED. Service date
                                 11/22/2016 by CM/ECF.[1912973] [16-3182] [Entered: 11/22/2016 05:24 PM]
 12/02/2016        45            OPPOSITION TO MOTION, to file supplemental appendix [41], on behalf of
              16 pg, 614.32 KB   Appellee Hermes of Paris, Inc., FILED. Service date 12/02/2016 by CM/ECF.
                                 [1919429] [16-3182] [Entered: 12/02/2016 03:58 PM]
 12/08/2016        49            SO-ORDERED SCHEDULING NOTIFICATION, setting Appellee Hermes of Paris,
              1 pg, 37 KB        Inc. Brief due date as 01/11/2017, FILED.[1923507] [16-3182] [Entered: 12/08/2016
                                 03:26 PM]
 12/12/2016        51            MOTION ORDER, denying motion to file supplemental appendix [41] filed by
              1 pg, 62.21 KB     Appellant Matthew Swain, by PWH, FILED. [1924788][51] [16-3182] [Entered:
                                 12/12/2016 10:00 AM]
 01/05/2017        53            MOTION, for judicial notice, on behalf of Appellant Matthew Swain, FILED. Service
              250 pg, 10.69 MB   date 01/05/2017 by CM/ECF. [1940717] [16-3182] [Entered: 01/05/2017 02:08 PM]

 01/05/2017        56            MOTION ORDER, referring motion for judicial notice to the merits panel [53] filed by
              1 pg, 42.57 KB     Appellant Matthew Swain, FILED. [1940970][56] [16-3182] [Entered: 01/05/2017
                                 03:45 PM]
 01/11/2017        59            BRIEF, on behalf of Appellee Hermes of Paris, Inc., FILED. Service date
              56 pg, 204.46 KB   01/11/2017 by CM/ECF. [1945748] [16-3182] [Entered: 01/11/2017 10:09 PM]

 01/17/2017        62            OPPOSITION TO , for judicial notice [53], on behalf of Appellee Hermes of Paris,
              14 pg, 533.16 KB   Inc., FILED. Service date 01/17/2017 by CM/ECF. [1949003] [16-3182] [Entered:
                                 01/17/2017 04:06 PM]




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 01/20/2017        64            REPLY BRIEF, on behalf of Appellant Matthew Swain, FILED. Service date
                                 01/20/2017 by CM/ECF. [1951658] [16-3182] [Entered: 01/20/2017 03:01 PM]
 01/20/2017        65            DEFECTIVE DOCUMENT, reply brief, [64], on behalf of Appellant Matthew Swain,
              2 pg, 17.2 KB      FILED.[1951676] [16-3182] [Entered: 01/20/2017 03:13 PM]

 01/20/2017        66            BRIEF, on behalf of Appellant Matthew Swain, FILED. Service date 01/20/2017 by
                                 CM/ECF.[1951770] [16-3182] [Entered: 01/20/2017 03:57 PM]
 01/20/2017        67            REPLY BRIEF, on behalf of Appellant Matthew Swain, FILED. Service date
              19 pg, 686.28 KB   01/20/2017 by CM/ECF. [1951788] [16-3182] [Entered: 01/20/2017 04:04 PM]

 01/20/2017        68            DEFECTIVE DOCUMENT, brief, [66], on behalf of Appellant Matthew Swain,
              2 pg, 17.36 KB     FILED.[1951858] [16-3182] [Entered: 01/20/2017 04:25 PM]

 01/20/2017        69            CURED DEFECTIVE reply brief [67], on behalf of Appellant Matthew Swain, FILED.
                                 [1951865] [16-3182] [Entered: 01/20/2017 04:29 PM]
 01/23/2017        70            ORAL ARGUMENT STATEMENT LR 34.1 (a), on behalf of filer Attorney Mr.
              1 pg, 57.95 KB     Christopher W. Hager, Esq. for Appellant Matthew Swain, FILED. Service date
                                 01/23/2017 by CM/ECF. [1952449] [16-3182] [Entered: 01/23/2017 12:42 PM]
 01/24/2017        71            ORAL ARGUMENT STATEMENT LR 34.1 (a), on behalf of filer Attorney Mr.
              1 pg, 57.87 KB     Lawrence R. Sandak, Esq. for Appellee Hermes of Paris, Inc., FILED. Service date
                                 01/24/2017 by CM/ECF. [1953932] [16-3182] [Entered: 01/24/2017 03:38 PM]
 02/23/2017        75            CASE CALENDARING, for the week of 05/01/2017, PROPOSED.[1975032] [16-
                                 3182] [Entered: 02/23/2017 12:28 PM]
 03/20/2017        76            CASE CALENDARING, for argument on 05/03/2017, SET.[1992665] [16-3182]
                                 [Entered: 03/20/2017 02:08 PM]
 03/22/2017        78            ARGUMENT NOTICE, to attorneys/parties, TRANSMITTED.[1994320] [16-3182]
              2 pg, 17.06 KB     [Entered: 03/22/2017 09:06 AM]

 03/23/2017        79            NOTICE OF HEARING DATE ACKNOWLEDGMENT, on behalf of Appellant
              1 pg, 52.93 KB     Matthew Swain, FILED. Service date 03/23/2017 by CM/ECF. [1996069] [16-3182]
                                 [Entered: 03/23/2017 12:14 PM]
 03/24/2017        80            NOTICE OF HEARING DATE ACKNOWLEDGMENT, on behalf of Appellee
              1 pg, 50.38 KB     Hermes of Paris, Inc., FILED. Service date 03/24/2017 by CM/ECF. [1997398] [16-
                                 3182] [Entered: 03/24/2017 03:44 PM]
 05/03/2017        81            CASE, before JMW, DAL, GEL, C.JJ., HEARD.[2025370] [16-3182] [Entered:
                                 05/03/2017 10:59 AM]
 08/14/2017        83            OPINION, affirming the judgment of the district court, by JMW, DAL, GEL, FILED.
              12 pg, 207.77 KB   [2099312] [16-3182] [Entered: 08/14/2017 09:24 AM]

 08/14/2017        84            MOTION ORDER, denying motion for judicial notice [53] filed by Appellant Matthew
              1 pg, 18.04 KB     Swain, by JMW, DAL, GEL, FILED. [2099341][84] [16-3182] [Entered: 08/14/2017
                                 09:37 AM]
 08/14/2017        88            NEW CASE MANAGER, Hezekiah Toft, ASSIGNED.[2099376] [16-3182] [Entered:
              1 pg, 9.11 KB      08/14/2017 09:48 AM]

 08/14/2017        90            JUDGMENT, FILED.[2099488] [16-3182] [Entered: 08/14/2017 10:31 AM]
              1 pg, 43.32 KB

 08/24/2017        91            ITEMIZED BILL OF COSTS, on behalf of Appellee Hermes of Paris, Inc., FILED.
              6 pg, 702.43 KB    Service date 08/24/2017 by CM/ECF, US mail.[2109716] [16-3182] [Entered:
                                 08/24/2017 04:22 PM]
 08/25/2017        93            OPPOSITION TO ITEMIZED BILL OF COSTS, [91], on behalf of Appellant Matthew
              1 pg, 47.48 KB     Swain, FILED. Service date 08/25/2017 by CM/ECF. [2110213] [16-3182] [Entered:




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                                08/25/2017 12:19 PM]
 09/06/2017        95           JUDGMENT MANDATE, ISSUED.[2117655] [16-3182] [Entered: 09/06/2017 10:54
              1 pg, 535.37 KB   AM]

 10/11/2017        98           STATEMENT OF COSTS, on behalf of Appellee Hermes of Paris, Inc., FILED.
              1 pg, 60.17 KB    [2144547] [16-3182] [Entered: 10/11/2017 11:34 AM]

 10/11/2017        99           CERTIFIED ORDER, dated 10/11/2017, to Hermes of Paris, Inc. v. Swain, ISSUED.
              1 pg, 551.41 KB   [2144559] [16-3182] [Entered: 10/11/2017 11:36 AM]




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                                                                 CASE JACKET
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                                                 Docket Number: ESX L 004996 - 16
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                                                       Case Caption: Swain Vs Hermes Of Paris
   Court: Civil Part                                    Venue: Essex                                             Case Initiation Date: 07/19/2016
   Case Type: Law Against Discrimination (Lad) Cases    Case Status: Closed                                      Jury Demand: 6 Jurors
   Case Track: 3                                        Judge: Francine J Schott                                 Team: 2
   # of Discovery Days: 450                             Age of Case: 00 YR 00 MO                                 Consolidated Case: N
   Original Discovery End Date:                         Current Discovery End Date:                              # of DED Extensions: 0
   Original Arbitration Date:                           Current Arbitration Date:                                # of Arb Adjournments: 0
   Original Trial Date:                                 Current Trial Date:                                      # of Trial Date Adjournments: 0
   Disposition Date: 11/18/2016                         Case Disposition: Dismissed By Court Without Prejudice   Statewide Lien:

   Plaintiffs (1)       Defendants (5)           Case Proceedings (4)                 ACMS Documents (17)                 Fees (17)

                             Doc   Document Filing Doc                   Date   Svc Party
                 Date Filed                                  CO/ID Type
                           Number    Type     Party Status              Served Status Svd
                07/19/2016 001    COMPLAINT SWAIN
                                  ACKNOWLDG
                08/11/2016 002               SWAIN
                                  SERVC
                                             HERMES
                                  MOTN DISM
                09/22/2016 003               OF       PR
                                  COMPL
                                             PARIS
                                  OBJECT
                11/03/2016 004               SWAIN
                                  MOTION
                                             HERMES
                11/14/2016 005    MISC BRIEF OF
                                             PARIS
                                             HERMES
                                  ORDR DISM
                11/18/2016 006               OF       PR
                                  CMPL
                                             PARIS
                                  CERT COPY
                12/14/2016 007               SWAIN
                                  SEAL
                                  CERT COPY
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                                  SEAL
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                12/14/2016 010               SWAIN
                                  SEAL
                                  CERT COPY
                12/14/2016 011               SWAIN
                                  SEAL
                                  MOTN
                03/09/2018 012               SWAIN DN
                                  REINSTATE
                                             HERMES
                                  OBJECT
                03/21/2018 013               OF
                                  MOTION
                                             PARIS
                03/26/2018 014    MISC BRIEF SWAIN
                                  ORDR
                04/27/2018 016               SWAIN DN
                                  REINSTATE
                                  MISC SUB
                05/31/2018 015               SWAIN
                                  ATTY
                06/20/2018 017    MISC OTHER SWAIN
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                                                    Case Actions
                               Filed                                                 Entry
                                         Filings     Docket Text    Transaction ID
                               Date                                                  Date
                                                   MOTION TO
                                                   REINSTATE
                                                   CASE submitted
                                                   by HAGER,
                                                   CHRISTOPHER,
                                                   WILLIAM of
                                                   NIEDWESKE
                                                   BARBER
                                                   HAGER LLC on
                                                   behalf of
                             3/9/2018                                 LCV2018423879 3/9/2018
                                                   MATTHEW
                                                   SWAIN against
                                                   HERMES OF
                                                   PARIS,
                                                   LORENZO
                                                   BAUTISTA, ABC
                                                   CORPORATION
                                                   (S), JOHN DOE
                                                   (S), JANE DOE
                                                   (S)
                                                   The motion filed
                                                   on 03/09/2018 will
                                                   be decided on
                                                   03/29/2018. Oral
                                                   argument has been
                                                   requested. You
                                                   will be notified
                                                   when oral
                                                   argument is
                             3/9/2018                                 LCV2018427872 3/9/2018
                                                   scheduled. Do not
                                                   come to the
                                                   courthouse unless
                                                   you are so
                                                   notified. Re:
                                                   MOTION TO
                                                   REINSTATE
                                                   CASE
                                                   [LCV2018423879]
                                                   OPPOSITION TO
                                                   MOTION
                                                   submitted by
                                                   SANDAK,
                                                   LAWRENCE, R
                                                   of PROSKAUER
                             3/21/2018             LLP on behalf of LCV2018506598 3/21/2018
                                                   LORENZO
                                                   BAUTISTA,
                                                   HERMES OF
                                                   PARIS against
                                                   MATTHEW
                                                   SWAIN
                                                   CLERK
                                                   NOTICE: re:
                                                   MOTION TO
                                                   REINSTATE
                                                   CASE
                             3/23/2018             [LCV2018423879] LCV2018521123 3/23/2018
                                                   -Oral argument is
                                                   scheduled for
                                                   1:30pm on 3/29 at
                                                   HCH 302. Inform
                                                   all parties.
                             3/26/2018             REPLY BRIEF        LCV2018526265 3/26/2018
                                                   submitted by
                                                   HAGER,
                                                   CHRISTOPHER,
                                                   WILLIAM of
                                                   NIEDWESKE
                                                   BARBER




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                               Filed                                                 Entry
                                         Filings     Docket Text    Transaction ID
                               Date                                                  Date
                                                   HAGER LLC on
                                                   behalf of
                                                   MATTHEW
                                                   SWAIN against
                                                   LORENZO
                                                   BAUTISTA,
                                                   HERMES OF
                                                   PARIS, JANE
                                                   DOE(S), JOHN
                                                   DOE(S), ABC
                                                   CORPORATION
                                                   (S)
                                                   The motion filed
                                                   on 03/09/2018 will
                                                   be decided on
                                                   04/27/2018. Oral
                                                   argument has been
                                                   requested. You
                                                   will be notified
                                                   when oral
                                                   argument is
                             4/23/2018                                LCV2018704148 4/23/2018
                                                   scheduled. Do not
                                                   come to the
                                                   courthouse unless
                                                   you are so
                                                   notified. Re:
                                                   MOTION TO
                                                   REINSTATE
                                                   CASE
                                                   [LCV2018423879]
                                                   Order To Reinstate
                                                   Case - DENIED
                             5/30/2018             by Judge           LCV2018942214 5/30/2018
                                                   LYNOTT,
                                                   KEITH, E
                                                   SUBSTITUTE
                                                   ATTORNEY
                                                   submitted by
                                                   HAGER,
                                                   CHRISTOPHER,
                                                   WILLIAM of
                                                   HAGER LAW,
                             5/31/2018                                LCV2018951700 5/31/2018
                                                   LLC on behalf of
                                                   MATTHEW
                                                   SWAIN against
                                                   LORENZO
                                                   BAUTISTA,
                                                   HERMES OF
                                                   PARIS
                                                    Showing 1 to 8 of 8 entries




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                                                         Case Summary
Case Number: ESX L-004996-16
Case Caption: Swain Vs Hermes Of Paris
Court: Civil Part                                   Venue: Essex                                 Case Initiation Date: 07/19/2016
Case Type: Law Against Discrimination (Lad) Cases   Case Status: Closed                          Jury Demand: 6 Jurors
Case Track: 3                                       Judge: Francine J Schott                     Team: 2
Original Discovery End Date:                        Current Discovery End Date:                  # of DED Extensions: 0
Original Arbitration Date:                          Current Arbitration Date:                    # of Arb Adjournments: 0
Original Trial Date:                                Current Trial Date:                          # of Trial Date Adjournments: 0

Disposition Date: 11/18/2016                        Case Disposition: Dismissed By Court         Statewide Lien:
                                                    Without Prejudice
Plaintiffs
Matthew Swain

Party Description: Individual                                                                    Attorney Name: Christopher William
                                                                                                 Hager
Address Line 1:                                                Address Line 2:                   Attorney Bar ID: 032731994

City:                            State:                        Zip: 00000                        Phone:

Attorney Email: CHAGER@NJHAGERLAW.COM

Defendants
Lorenzo Bautista
Party Description: Individual                                                                    Attorney Name: Lawrence R Sandak
Address Line 1:                                                Address Line 2:                   Attorney Bar ID: 004441984

City:                            State:                        Zip: 00000                        Phone:

Attorney Email: LSANDAK@PROSKAUER.COM
Hermes Of Paris
Party Description: Individual                                                                    Attorney Name: Lawrence R Sandak
Address Line 1:                                                Address Line 2:                   Attorney Bar ID: 004441984

City:                            State:                        Zip: 00000                        Phone:

Attorney Email: LSANDAK@PROSKAUER.COM
Jane Doe(S)
Party Description: Fictitious                                                                    Attorney Name:
Address Line 1:                                                Address Line 2:                   Attorney Bar ID:
City:                            State:                        Zip: 00000                        Phone:
Attorney Email:
John Doe(S)
Party Description: Fictitious                                                                    Attorney Name:
Address Line 1:                                                Address Line 2:                   Attorney Bar ID:
City:                            State:                        Zip: 00000                        Phone:
Attorney Email:
Abc Corporation(S)
Party Description: Fictitious                                                                    Attorney Name:
Address Line 1:                                                Address Line 2:                   Attorney Bar ID:
City:                            State:                        Zip: 00000                        Phone:
Attorney Email:
Case Proceeding
Created       Scheduled      Court   Judge Name           Proceeding Description   Motion Type             Proceeding     Motion Status
Date          Time           Room                                                                          Status

10/14/2016    09:00          202HC   FRANCINE J SCHOTT    MOTION HEARING           MOTION DISMISSING       RSCHED
                                                                                   COMPLAINT
11/18/2016    09:00          202HC   FRANCINE J SCHOTT    MOTION HEARING           MOTION DISMISSING       COMPLETED      CM
                                                                                   COMPLAINT
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                                                                                              MOTION TO
03/29/2018     09:00           302HC    KEITH    E LYNOTT          MOTION HEARING                                        COMPLETED        CM
                                                                                              REINSTATE CASE
04/27/2018     09:00           302HC    KEITH    E LYNOTT          MOTION HEARING             MOTION TO                  COMPLETED        CM
                                                                                              REINSTATE CASE

Case Actions
Filed Date       Docket Text                                                                            Transaction ID         Entry Date
                 MOTION TO REINSTATE CASE submitted by HAGER, CHRISTOPHER, WILLIAM of
                 NIEDWESKE BARBER HAGER LLC on behalf of MATTHEW SWAIN against HERMES
3/9/2018         OF PARIS, LORENZO BAUTISTA, ABC CORPORATION(S), JOHN DOE(S), JANE                      LCV2018423879          3/9/2018
                 DOE(S)
                 The motion filed on 03/09/2018 will be decided on 03/29/2018. Oral argument has been
3/9/2018         requested. You will be notified when oral argument is scheduled. Do not come to the    LCV2018427872          3/9/2018
                 courthouse unless you are so notified. Re: MOTION TO REINSTATE CASE
                 [LCV2018423879]
3/21/2018        OPPOSITION TO MOTION submitted by SANDAK, LAWRENCE, R of PROSKAUER LLP                 LCV2018506598          3/21/2018
                 on behalf of LORENZO BAUTISTA, HERMES OF PARIS against MATTHEW SWAIN
3/23/2018        CLERK NOTICE: re: MOTION TO REINSTATE CASE [LCV2018423879] -Oral argument              LCV2018521123          3/23/2018
                 is scheduled for 1:30pm on 3/29 at HCH 302. Inform all parties.
                 REPLY BRIEF submitted by HAGER, CHRISTOPHER, WILLIAM of NIEDWESKE
3/26/2018        BARBER HAGER LLC on behalf of MATTHEW SWAIN against LORENZO BAUTISTA,                  LCV2018526265          3/26/2018
                 HERMES OF PARIS, JANE DOE(S), JOHN DOE(S), ABC CORPORATION(S)
                 The motion filed on 03/09/2018 will be decided on 04/27/2018. Oral argument has been
                 requested. You will be notified when oral argument is scheduled. Do not come to the
4/23/2018                                                                                               LCV2018704148          4/23/2018
                 courthouse unless you are so notified. Re: MOTION TO REINSTATE CASE
                 [LCV2018423879]
5/30/2018        Order To Reinstate Case - DENIED by Judge LYNOTT, KEITH, E                             LCV2018942214          5/30/2018
                 SUBSTITUTE ATTORNEY submitted by HAGER, CHRISTOPHER, WILLIAM of HAGER
5/31/2018        LAW, LLC on behalf of MATTHEW SWAIN against LORENZO BAUTISTA, HERMES OF                LCV2018951700          5/31/2018
                 PARIS
eCourts Appellate                                                          Page 1 of 2
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                                           SUBMITTED                                                                                                              REVIEWED
    Case Lookup
                                                        Court             Court Issued Document REGULAR OPINION (OPN-AFFIRMED)                  N/A               4/23/2019
  Quick Reference                                                         Sync Back                                                                               9:11:23 AM
    Appellate Division Rules               12/06/2018   Court             eCourts Appellate    APPELLANT - your AMENDED REPLY BRIEF       N/A                     12/6/2018
    Emergent Application                                                  Communication        has now been FILE STAMPED. Please printout                         12:29:17 PM
    Information                                                                                and submit 3 copies of the FILED STAMPED
                                                                                               AMENDED REPLY BRIEF within 10 days. The
    Notices to the Bar
                                                                                               cover should be buff/yellow. At a minimum
  Customer Support                                                                             you must staple the documents.
   for eCourts Appellate
       609-815-2950 x 52590                                                                    Thank you,
   for Pre-trial Detention Appeals
                                                                                               Tricia
   (PDA)
                                                                                               Ext 52671
       609-815-2950 x 52580
   or email us at                          12/05/2018   MATTHEW SWAIN Add document by          REPLY BRIEF, PROOF OF SERVICE                    E1236293-         12/6/2018
   NJeDATAnotices.mailbox                               - HAGER LAW, LLC designated filer.                                                      12052018          12:25:43 PM
   @njcourts.gov                                        CHRISTOPHER
                                                        WILLIAM HAGER
                                                        (APPELLANT)
ABOUT THIS PAGE
                                           12/04/2018   Court             eCourts Appellate    APPELLANT - your REPLY BRIEF has been          N/A                 12/4/2018
This page lists all the filings and                                       Communication        marked deficient. Your brief must conform to                       4:14:32 PM
notifications both originated in eCourts                                                       the general briefing rules of this court. This
Appellate and in the Appellate case                                                            means your letter brief must include at a
management system.                                                                             minimum a table of contents that includes
                                                                                               the Procedural History and statement of
                                                                                               facts, even if you are relying on your prior
                                                                                               MERITS BREIF submission, Legal Argument
                                                                                               with point headings and conclusion.

                                                                                               You have 15 days in which to correct this
                                                                                               deficiency.

                                                                                               Note that I am out of the office on
                                                                                               Wednesday 12/5/18.

                                                                                               Thank you,

                                                                                               Tricia
                                                                                               Ext 52671
                                           12/04/2018   Court             eCourts Appellate    RESPONDENT - your AMENDED                        N/A               12/4/2018
                                                                          Communication        BRIEF/APPENDIX have been approved and                              4:11:40 PM
                                                                                               FILE STAMPED. Please printout the FILE
                                                                                               STAMPED documents and submit 3 copies to
                                                                                               the Court. Your caption/cover pages should
                                                                                               be blue and the documents should be at a
                                                                                               minimum stapled.

                                                                                               Tricia
                                           12/04/2018   MATTHEW SWAIN Add document by          REPLY BRIEF, PROOF OF SERVICE                    E1236077-         12/4/2018
                                                        - HAGER LAW, LLC designated filer.                                                      12042018          3:56:36 PM
                                                        CHRISTOPHER
                                                        WILLIAM HAGER
                                                        (APPELLANT)
                                           12/03/2018   HERMES OF PARIS Add document.          RESPONDENTS BRIEF AND APPENDIX, PROOF E1235843-                    12/4/2018
                                                        - PROSKAUER LLP                        OF SERVICE                            12032018                     3:55:53 PM
                                                        LAWRENCE R
                                                        SANDAK
                                                        (RESPONDENT)
                                           11/29/2018   Court             eCourts Appellate    RESPONDENT - your brief and appendix was         N/A               11/29/2018
                                                                          Communication        marked deficient for the following reason:                         5:15:32 PM

                                                                                               1) The table of contents for the appendix
                                                                                               must list the specific TITLE of the
                                                                                               documentation that is being submitted. You
                                                                                               CANNOT simply stated Exhibit C as an
                                                                                               attachment...etc.
                                                                                               and
                                                                                               2) Please specify on its cover the appendix
                                                                                               pages included therein.

                                                                                               If you do not understand the above, feel free
                                                                                               to contact me by telephone.

                                                                                               You have 15 days to correct the table of
                                                                                               contents to the appendix.
                                           11/26/2018   HERMES OF PARIS Add document.          RESPONDENTS BRIEF AND APPENDIX, PROOF E1234222-                    11/29/2018
                                                        - PROSKAUER LLP                        OF SERVICE                            11262018                     5:08:39 PM
                                                        LAWRENCE R
                                                        SANDAK
                                                        (RESPONDENT)
                                           11/15/2018   Court             eCourts Appellate    APPELLANT - I am in receipt of the brief and     N/A               11/15/2018
                                                                          Communication        appendix copies, however, you did not                              2:56:40 PM
                                                                                               submit 3 copies of the file stamped
                                                                                               transcripts. Please send those to me
                                                                                               immediately.




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eCourts Appellate                                                          Page 2 of 2
          Case 1:16-cv-06255-CM Document 28-19 Filed 01/16/20 Page 22 of 22


                                                                           Thank you,

                                                                           Tricia
                                                                           Ext 52671
                      11/12/2018   MATTHEW SWAIN Add document by           PROOF OF SERVICE, LETTER OF                         E1231155-   11/13/2018
                                   - HAGER LAW, LLC designated filer.      COMMUNICATION                                       11122018    9:25:46 AM
                                   CHRISTOPHER
                                   WILLIAM HAGER
                                   (APPELLANT)
                      10/31/2018   Court             eCourts Appellate     APPELLANT - your amended brief and            N/A               10/31/2018
                                                     Communication         appendix have been filed. Please printout and                   2:07:19 PM
                                                                           submit 3 copies of the file stamped
                                                                           documents within 10 days.

                                                                           As the appellant submitted his brief early and
                                                                           made the corrections prior to the original
                                                                           scheduling order due dates, there was no
                                                                           reason to alter the scheduling order that is in
                                                                           place.

                                                                           Thank you.

                                                                           Tricia
                                                                           Ext 52671
                      10/25/2018   MATTHEW SWAIN Add document by           PROOF OF SERVICE, MOTION TRANSCRIPT                 E1227558-   10/25/2018
                                   - HAGER LAW, LLC designated filer.      (11/18/2016)                                        10252018    1:18:05 PM
                                   CHRISTOPHER
                                   WILLIAM HAGER
                                   (APPELLANT)
                      10/24/2018   MATTHEW SWAIN Add document by           APPELLANTS BRIEF, APPELLANTS APPENDIX               E1227288-   10/25/2018
                                   - HAGER LAW, LLC designated filer.      (Vol. 1), PROOF OF SERVICE                          10242018    10:27:14 AM
                                   CHRISTOPHER
                                   WILLIAM HAGER
                                   (APPELLANT)
                      10/23/2018   Court             eCourts Appellate     A brief deficiency letter has been filed.           N/A         10/23/2018
                                                     Communication                                                                         2:35:43 PM
                                                                           Please read the letter carefully and review
                                                                           the specific rules. If you still need assistance,
                                                                           contact me by telephone.

                                                                           Tricia
                                                                           Ext 52671
                                   Court             Court Issued Document BRIEF DEFICIENCY LETTER                             N/A         10/23/2018
                                                     Sync Back                                                                             12:15:59 PM
                      10/15/2018   Court             eCourts Appellate     APPELLANT - your BRIEF/APPENDIX has been N/A                    10/15/2018
                                                     Communication         marked deficient. A letter detailing the                        11:35:17 AM
                                                                           deficiencies will be sent usually, within a
                                                                           week.

                                                                           RESPONDENT(S) - your BRIEF due date(s)
                                                                           are tolled pending the RECEIPT of the
                                                                           corrections.

                                                                           Thank you,

                                                                           Tricia
                                                                           Ext 52671
                      10/09/2018   MATTHEW SWAIN Add document by           APPELLANTS BRIEF, APPELLANTS APPENDIX               E1222686-   10/15/2018
                                   - HAGER LAW, LLC designated filer.      (Vol. 1), APPELLANTS APPENDIX (Vol. 2),             10092018    11:31:39 AM
                                   CHRISTOPHER                             APPELLANTS APPENDIX (Vol. 3), PROOF OF
                                   WILLIAM HAGER                           SERVICE
                                   (APPELLANT)
                                   Court             Court Issued Document MOTION (Vol. 001) (03/29/2018)                      N/A         9/11/2018
                                                     Sync Back                                                                             10:03:45 AM
                                   Court             Court Issued Document SCHEDULING ORDER E FILED APPEAL                     N/A         9/11/2018
                                                     Sync Back                                                                             10:03:16 AM
                      08/03/2018   MATTHEW SWAIN Add document by           PROOF OF SERVICE, ORAL ARGUMENT                     E1202574-   8/3/2018
                                   - HAGER LAW, LLC designated filer.      REQUEST                                             08032018    11:12:07 AM
                                   CHRISTOPHER
                                   WILLIAM HAGER
                                   (APPELLANT)
                      07/31/2018   HERMES OF PARIS Add document.           PROOF OF SERVICE, CASE INFORMATION                  E1200915-   7/31/2018
                                   - PROSKAUER LLP                         STATEMENT                                           07312018    4:53:30 PM
                                   LAWRENCE R
                                   SANDAK
                                   (RESPONDENT)
                                   Court             Court Issued Document NOTICE OF DOCKETING                                 N/A         6/20/2018
                                                     Sync Back                                                                             3:17:34 PM
                      06/18/2018   MATTHEW SWAIN Case initiation.          NOTICE OF APPEAL, PROOF OF SERVICE,  E1192365-                  6/20/2018
                                   - HAGER LAW, LLC                        TRIAL COURT ORDER/JUDGMENT/DECISION, 06182018                   2:40:57 PM
                                   CHRISTOPHER                             CASE INFORMATION STATEMENT,
                                   WILLIAM HAGER                           TRANSCRIPT REQUEST FORM
                                   (APPELLANT)
                      06/18/2018   Court             Court accepts         Case docketed.                                      N/A         6/20/2018
                                                     submission.                                                                           2:40:57 PM


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